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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Percy Macias, et al.

v.                                               Case Number: 4:19−cv−04856

Catapult Painting LLC, et al.




                                Notice of Resetting

A proceeding has been reset in this case as set forth below.

BEFORE:
Judge Lee H Rosenthal
LOCATION:
by video
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 12/8/2023
TIME: 02:30 PM
TYPE OF PROCEEDING: Docket Call


Date: September 21, 2023                                       Nathan Ochsner, Clerk
